              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:12-cr-00088-MR-DLH-1


UNITED STATES OF AMERICA,        )
                                 )
                    Plaintiff,   )
                                 )
          vs.                    )                   ORDER
                                 )
                                 )
ALEX DEAN NELSON,                )
                                 )
                    Defendant.   )
________________________________ )
                                 )
IN RE: PETITION OF JOY NELSON    )
BROOKS.                          )
________________________________ )


     THIS MATTER is before the Court on the Government’s Motion to

Strike Claim [Doc. 22].

     On December 17, 2012, the Government filed a motion to strike the

claim of Joy Nelson Brooks because the claim was not signed under

penalty of perjury. [Doc. 22]. On December 20, 2012, the Court entered

an Order directing Ms. Brooks to file an amended petition within thirty (30)

days. [Doc. 23]. Ms. Brooks filed an Amended Petition, signed under




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penalty of perjury, on January 2, 2013.               [Doc. 24].       Accordingly, the

Government’s Motion to Strike Claim [Doc. 22] has been rendered moot.

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Strike Claim [Doc. 22] is DENIED AS MOOT.

     IT IS SO ORDERED.
                               Signed: January 24, 2013




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